FILED IN Op ie
AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing EN COUR f

Pp co
$ prAs Moore, Jr, Glenn

UNITED STATES DISTRICT COURT 28 District court

astern Dist
for the rict of NC

Eastern District of North Carolina

United States of America
Vv.

Joseph Maurino

Case No. 7:20-cr-167-5M

 

 

Ww 9S YS a’

Defendant

ORDER SCHEDULING A DETENTION HEARING

A detention hearing in this case is scheduled as follows:

 

Place: 1003 South 17th Street Courtroom No.: 100

 

 

Wilmington, NC 28401 3
Date and Time: ft @
2

 

 

IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.

Date: 07/29/2021 Z ee on

wr
\J Judge ’s signature

Robert B. Jones, Jr., U.S. Magistrate Judge

 

Printed name and title

Case 7:20-cr-00167-M Document 141 Filed 07/29/21 Page 1of1
